           Case 8:19-ap-01202-TA                  Doc 18 Filed 02/13/20 Entered 02/13/20 18:28:08                                     Desc
                                                   Main Document    Page 1 of 7



  Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &      FOR COURT USE ONLY
  Email Address


  Baruch C. Cohen, Esq. (SBN 159455)
  LAW OFFICE OF BARUCH C. COHEN
           A Professional Law Corporation
  4929 Wilshire Boulevard, Suite 940
  Los Angeles, California 90010
  (323) 937-4501 Fax (323) 937-4503
  e-mail: baruchcohen@baruchcohenesq.com




       Individual appearing without attorney
       Attorney for Defendant

                                          UNITED STATES BANKRUPTCY COURT
                                  CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION

  In re:
                                                                              CASE NO.: 8:19-bk-12480-TA
  GUY GRIFFITHE,                                                              CHAPTER: 7
                                                                              ADVERSARY NO: 8:19-ap-01202-TA
                                                               Debtor(s).

  Gregory Wick,

                                                              Plaintiff(s),   NOTICE OF LODGMENT OF ORDER OR
                                    vs.                                       JUDGMENT IN ADVERSARY PROCEEDING
  GUY GRIFFITHE
                                                                              RE:
                                                                              APPLICATION FOR ORDER SETTING
                                                              Defendant.
                                                                              HEARING ON SHORTENED NOTICE [LBR
                                                                              9075-1(b)]




PLEASE TAKE NOTE that the order or judgment titled ORDER GRANTING APPLICATION FOR ORDER
SETTING HEARING ON SHORTENED NOTICE [LBR 9075-1(b)] was lodged on 02-13-2020 and is attached.
This order relates to the motion which is docket number 17.




           This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

December 2012                                                        Page 1                  F 9021-1.2.ADV.NOTICE.LODGMENT
          Case 8:19-ap-01202-TA                   Doc 18 Filed 02/13/20 Entered 02/13/20 18:28:08                                       Desc
                                                   Main Document    Page 2 of 7

 Attorney or Party Name, Address, Telephone & FAX                            FOR COURT USE ONLY
 Nos., State Bar No. & Email Address

 Baruch C. Cohen, Esq. (SBN 159455)
 LAW OFFICE OF BARUCH C. COHEN
         A Professional Law Corporation
 4929 Wilshire Boulevard, Suite 940
 Los Angeles, California 90010
 (323) 937-4501        Fax (888) 316-6107
 e-mail: baruchcohen@baruchcohenesq.com




       Individual appearing without attorney
       Attorney for: Defendant Guy Griffithe

                                           UNITED STATES BANKRUPTCY COURT
                                   CENTRAL DISTRICT OF CALIFORNIA -SANTA ANA DIVISION

 In re:                                                                      CASE NO.: 8:19-bk-12480-TA
                                                                             CHAPTER: 8:19-ap-01202-TA
 GUY GRIFFITHE,
                                                                             ADV. PROC. NO.: 8:19-ap-01202-TA
         Debtor
 _________________________________
                                                                             ORDER:
 GREGORY WICK,
                                                                                    GRANTING APPLICATION AND SETTING
                                                                                    HEARING ON SHORTENED NOTICE
                                Plaintiff
                                                                                    DENYING APPLICATION FOR ORDER
 vs.                                                                                SETTING HEARING ON SHORTENED
                                                                                    NOTICE
 GUY GRIFFITHE                                                                               [LBR 9075-1(b)]

                              Defendant
 Movant (name): BARUCH C. COHEN



1. Movant filed the following motion together with supporting declarations and (if any) supporting documents:

    a. Title of motion: MOTION TO WITHDRAW AS COUNSEL OF RECORD FOR DEFENDANT
          GUY GRIFFITHE
    b. Date of filing of motion: 2-13-2020

2. Pursuant to LBR 9075-1(b), movant also filed an Application for Order Setting Hearing on Shortened Notice
   (Application) together with supporting declaration(s):

    Date of filing of Application: 2-13-2020


          This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

December 2013                                                           Page 1                             F 9075-1.1.ORDER.SHORT.NOTICE
         Case 8:19-ap-01202-TA                   Doc 18 Filed 02/13/20 Entered 02/13/20 18:28:08                                       Desc
                                                  Main Document    Page 3 of 7

3. Based upon the court’s review of the application, it is ordered that:

    a.         The Application is denied. The motion may be brought on regular notice pursuant to LBRs.

    b.         The Application is granted, and it is further ordered that:

         (1)         A hearing on the motion will take place as follows:


                Hearing date:                                Place:
                Time:                                            255 East Temple Street, Los Angeles, CA 90012
                                                                 21041 Burbank Boulevard, Woodland Hills, CA 91367
                Courtroom:
                                                                 3420 Twelfth Street, Riverside, CA 92501
                                                                 411 West Fourth Street, Santa Ana, CA 92701
                                                                 1415 State Street, Santa Barbara, CA 93101

         (2)         No later than the deadlines given, telephonic notice of the hearing must be provided to all
                     persons/entities listed:

                (A) Deadlines:                          (B) Persons/entities to be provided with telephonic notice:
                Date:

                Time:

                                                                 See attached page
                                                        (C) Telephonic notice is also required upon the United States trustee


         (3)         No later than the deadlines given, written notice of the hearing and a copy of this order must be
                     served upon all persons/entities listed using:       one of the methods checked         all of the
                     methods checked

               (A)        Personal Delivery             Overnight Mail                First class mail               Facsimile*              Email*

                (B) Deadlines:                          (C) Persons/entities to be served with written notice and a copy of this
                                                            order:
                Date:

                Time:


                                                                 See attached page
                                                        (D) Service is also required upon:
                                                            -- United States trustee (electronic service is not permitted)
                                                            -- Judge’s copy personally delivered to chambers
                                                               (see Court Manual for address)

         (4)       No later than the deadlines given, a copy of the motion, declarations, and supporting documents (if any),
                   must be served on all persons/entities listed using:        one of the methods checked      all of the
                   methods checked
               (A)      Personal Delivery       Overnight Mail          First Class Mail        Facsimile*     Email*




         This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

December 2013                                                          Page 2                             F 9075-1.1.ORDER.SHORT.NOTICE
        Case 8:19-ap-01202-TA                   Doc 18 Filed 02/13/20 Entered 02/13/20 18:28:08                                       Desc
                                                 Main Document    Page 4 of 7

                (B) Deadlines:                         (C) Persons/entities to be served with motion, declarations, supporting
                    Date:                                  documents:

                    Time:


                                                              See attached page
                                                       (D) Service is also required upon:
                                                           -- United States trustee (no electronic service permitted)
                                                           -- Judge’s copy personally delivered to chambers
                                                              (see Court Manual for address)

        (5)         Regarding opposition to the motion

                    opposition to the motion may be made orally at the hearing

                    no later than the deadlines given, written opposition to the motion must be filed with the court and
                    served upon all persons/entities listed using:     one of the methods checked          all of the methods
                    checked
              (A)           Personal Delivery         Overnight Mail              First Class Mail                Facsimile*                Email*

                (B) Deadlines:                         (C) Persons/entities to be served with written opposition to the motion:
                    Date:                                  -- movant’s attorney (or movant, if movant is not represented by an
                                                              attorney)
                    Time:




                                                       (D) Service is also required upon:
                                                           -- United States trustee (electronic service is not permitted)
                                                           -- Judge’s copy personally delivered to chambers
                                                              (see Court Manual for address)

        (6)         Regarding a reply to an opposition:

                    a reply to opposition may be made orally at the hearing.

                    no later than the deadlines given, a written reply to an opposition must be filed with the court and
                    served on all persons/entities listed using:        one of the methods checked           all of the methods
                    checked

              (A)           Personal Delivery         Overnight Mail              First Class Mail                Facsimile*                Email*

                (B) Deadlines:                         (C) Persons/entities to be served with written reply to opposition:
                    Date:                                  -- All persons/entities who filed a written opposition

                    Time:

                                                       (D) Service is also required upon:
                                                           -- United States trustee (electronic service is not permitted)
                                                           -- Judge’s Copy personally delivered to chambers
                                                              (see Court Manual for address)

        This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

December 2013                                                         Page 3                             F 9075-1.1.ORDER.SHORT.NOTICE
        Case 8:19-ap-01202-TA                   Doc 18 Filed 02/13/20 Entered 02/13/20 18:28:08                                       Desc
                                                 Main Document    Page 5 of 7

        (7)      Other requirements:




        (8)      No later than the deadlines given, movant must file a Declaration of Notice and Service establishing
                 that telephonic notice, written notice, and service of the motion and this order was completed as set forth
                 above, and a judge’s copy of the Declaration of Notice and Service must be personally delivered to the
                 judge’s chambers:

                        at least 2 days before the hearing.

                        no later than:          Date:                              Time:



    * Service by electronic means (facsimile or email) requires compliance with F.R.Civ.P. 5(b)(2)(E).

                                                                        ###




        This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

December 2013                                                         Page 4                             F 9075-1.1.ORDER.SHORT.NOTICE
        Case 8:19-ap-01202-TA                   Doc 18 Filed 02/13/20 Entered 02/13/20 18:28:08                                     Desc
                                                 Main Document    Page 6 of 7



                                      PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

                               4929 Wilshire Boulevard, Suite 940, Los Angeles, California 90010.

A true and correct copy of the foregoing document entitled: NOTICE OF LODGMENT OF ORDER OR JUDGMENT IN
ADVERSARY PROCEEDING will be served or was served (a) on the judge in chambers in the form and manner required
by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On 2/13/2020,
I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following persons
are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

Thomas H Casey (TR)                  msilva@tomcaseylaw.com, thc@trustesolutions.net
United States Trustee (SA)           ustpregion16.sa.ecf@usdoj.gov


                                                                                         Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On 2/13/2020, I served the following persons and/or entities at the last known
addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope
in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a
declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

Gregory Wick, 45159 Vine Cliff St, Temecula, CA 92592



                                                                                         Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on 2/13/2020, I served the following
persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service
method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal
delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.

Honorable Theodor C. Albert, 411 West Fourth Street, Suite 5085, Santa Ana, CA 92701-4593




                                                                                         Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.



  2/13/2020              Baruch C. Cohen, Esq.                                                /s/ Baruch C. Cohen
  Date                         Printed Name                                                   Signature




         This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

December 2012                                                      Page 2                  F 9021-1.2.ADV.NOTICE.LODGMENT
Case 8:19-ap-01202-TA   Doc 18 Filed 02/13/20 Entered 02/13/20 18:28:08   Desc
                         Main Document    Page 7 of 7




                             EXHIBIT “A”
